Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 1 of 25 Pageid#: 237




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


BABY DOE, et al.,                                   )
                                                    )
               Plaintiffs,                          )
                                                    )
v.                                                  )       Case No. 3:22-cv-49-NKM
                                                    )
JOSHUA MAST, et al.,                                )
                                                    )
               Defendants,                          )
                                                    )
and                                                 )
                                                    )
UNITED STATES SECRETARY OF                          )
STATE ANTONY BLINKEN, et al.,                       )
                                                    )
               Nominal Defendants.                  )
                                                    )

               DEFENDANTS JOSHUA AND STEPHANIE MAST’S
           MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS
             THE COMPLAINT UNDER RULES 12(B)(1) AND 12(B)(6)

       Baby Doe is an orphan of war and a victim of terrorism, rescued under tragic circumstances

from the battlefield. Joshua and Stephanie Mast have done nothing but ensure she receives the

medical care she requires, at great personal expense and sacrifice, and provide her a loving home.

John and Jane Doe not only challenge the Masts’ custody of Baby Doe but level outrageous,

unmerited attacks on their integrity, claiming they concocted a “scheme” to “abduct” her. The

Masts vehemently deny these allegations and have litigated them against the Does

            . This federal action is an improper end run around those state-court proceedings, and

the Court should promptly dismiss it.

       Almost a year ago, the Does petitioned                                        (the “Circuit

Court”) to reopen and vacate its Adoption Order. When that petition was dismissed, they filed a
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 2 of 25 Pageid#: 238




new one the same day to collaterally attack the adoption. In that sealed proceeding, 1 the Does

allege

     . That proceeding is still ongoing,




                . Apparently unsatisfied with those sealed state-court proceedings, the Does filed

this Complaint, making public the accusations they made in the Circuit Court and asking this Court

to issue declarations they can use to attempt to circumvent the Circuit Court proceedings.

         Federal courts have long held that they cannot award such relief. This Court should dismiss

the Complaint because it lacks jurisdiction for several reasons. First, the Does have no authority

to assert claims on behalf of Baby Doe. Second, the domestic-relations exception to federal

jurisdiction precludes their claims. Third, the Court should abstain under Burford v. Sun Oil Co.,

319 U.S. 315 (1943), and Colorado River Water Conservation Dist. v. United States, 424 U.S. 800

(1976). And even if the Court did have jurisdiction, it would need to dismiss the Complaint because

the Does have failed to state a claim upon which relief can be granted.

                                         BACKGROUND

         1.     Baby Doe was recovered off the battlefield at approximately 6–8 weeks old




1
  The Circuit Court is aware of this proceeding and has entered an order allowing the parties to
submit record materials to this Court provided they submit them under seal, Ex. 1 (Oct. 12, 2022
Order), which Defendants Joshua and Stephanie Mast are doing pursuant to a separate motion filed
simultaneously with this Motion.
                                                  2
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 3 of 25 Pageid#: 239



                                               2




       At the time Baby Doe was rescued

                                          , Major Joshua Mast (then Captain) was deployed in

Afghanistan where he served as a Marine Corps Judge Advocate. Compl. ¶ 25. He grew concerned

that Baby Doe,

                         would not have access to the medical care required to treat her injuries.

Compl. ¶ 25;

       2.      It was apparent to Major Mast that Baby Doe had no living relatives,




2
  The Court may consider                       at this stage, including under Rule 12(b)(6), because
it is “explicitly incorporated into the complaint by reference,” see Compl. ¶¶ 60–61, and it is
“integral” to understanding the Does’ claims. See Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,
166 (4th Cir. 2016) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)).
                                                   3
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 4 of 25 Pageid#: 240




                       . He subsequently pursued adoption proceedings in the Circuit Court to be

able to bring Baby Doe to the United States. Id.

       Major Mast believed at the time and continues to believe, with the hindsight of

approximately a year of litigation and the testimony of eyewitnesses and Afghan law experts,




               . 3 Major Mast raised these concerns with appropriate authorities,




                                      .

       But at least one official from the State Department—

                               —took the contrary view that Baby Doe should be handed over to

the custody of the then-extant Afghan Government.




                                           .




3
  Of course, for purposes of Rule 12(b)(6), the Court must take the plaintiffs’ well-pleaded factual
allegations as true, see, e.g., Uncork & Create LLC v. Cincinnati Ins. Co., 27 F.4th 926, 930 (4th
Cir. 2022), but this factual dispute—which is one of many being actively litigating in state court—
is relevant context for the jurisdictional and abstention issues presented here.
                                                   4
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 5 of 25 Pageid#: 241




       Major Mast remained concerned for the dangerous situation facing Baby Doe

                                                                       It was clear to Major Mast

that Baby Doe would not receive adequate medical care in Afghanistan,



                . Thus, he and his wife, Stephanie, filed




                              the transfer of custody went forward. Compl. ¶ 67. According to the

Complaint, after Baby Doe left DoD custody, she was placed with John Doe’s father, who purports

to be her half “paternal uncle” and who in turn left her with the Does. Compl. ¶¶ 56, 69–70.

       3.      After receiving reports that Baby Doe was experiencing medical complications, the

Masts continued to be concerned that Baby Doe would not receive the medical care she needed in

Afghanistan and that it was not a safe place for her. They proceeded with finalizing their adoption

of Baby Doe in the United States. Compl. ¶¶ 80–82; see also Ex. 4 (Adoption Order). As the

Taliban campaign swept over Afghanistan in the late summer of 2021, Major Mast established

contact with John Doe and requested he bring Baby Doe to Kabul to fly to the United States before

the country collapsed. Compl. ¶¶ 78, 83–84.

       When the Afghan Government collapsed on August 15, 2021, and the evacuation began,

Major Mast again contacted John Doe about bringing Baby Doe to U.S. forces, extremely

concerned that they may not get another chance—a belief that John Doe shared. Compl. ¶ 90.

Through the efforts of Major Mast and other U.S. military personnel, and based on the legal

identity of Baby Doe under the Adoption Order, John and Jane Doe were able to flee Afghanistan,



                                                 5
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 6 of 25 Pageid#: 242




notwithstanding the chaos of the U.S. withdrawal, by bringing Baby Doe to U.S. Forces. Compl.

¶¶ 92, 95–97. Soon after they entered the United States, on September 3, 2021, the Masts took

custody of Baby Doe. Compl. ¶¶ 118–19.

       4.      In November 2021, John and Jane Doe filed a petition seeking to set aside the

Adoption Order

                                                                               . (Under Virginia law,

adoption proceedings are sealed to protect the privacy and other interests of the child, Va. Code

Ann. § 63.2-1246; as set forth in a separate motion, Defendants are submitting materials from those

proceedings under seal.)



                 Virginia law provides that “[a]fter the expiration of six months from the date of

entry of any final order of adoption from which no appeal has been taken to the Court of Appeals,

the validity thereof shall not be subject to attack in any proceedings, collateral or direct, for any

reason, including but not limited to fraud, duress, failure to give any required notice, failure of any

procedural requirement, or lack of jurisdiction over any person, and such order shall be final for

all purposes.” Va. Code Ann. § 63.2-1216. Virginia courts have recognized a narrow exception,

allowing a parent with an “actual relationship of parental responsibility,” not just a “mere

biological relationship,” to contest an adoption if he proves extrinsic fraud by clear and convincing

evidence that prevented filing within the six-month period. See McCallum v. Salazar, 49 Va. App.

51, 57 (2006) (quoting F.E. v. G.F.M., 35 Va. App. 648, 661 (2001)). In March 2022,

                                                      the Does repleaded the petition,




                                                  6
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 7 of 25 Pageid#: 243




       The allegations in the Petition are virtually identical to those in the Complaint here. For

example, the Does allege




                                                                          . The Petition asks the

Circuit Court to vacate the Adoption Order and to grant the Does full physical and legal custody

of Baby Doe. Id. at p.10. That proceeding has been ongoing for almost 11 months.




       The Does, apparently dissatisfied with the Circuit Court proceedings, have recently

pursued several other avenues to challenge the Adoption Order. First, on August 26, 2022,



                                                                On September 2, 2022, the Does

filed this lawsuit. Their Complaint, though ostensibly a damages action under a variety of tort

theories, asks the Court to issue 12 declarations that would undermine the Circuit Court and its

Adoption Order. Specifically, the Does ask the Court to declare:

       (i) under the Supremacy Clause of the United States Constitution, the decisions of
       the United States to recognize Baby Doe’s legal status as an Afghan citizen, and to
       recognize the Government of Afghanistan’s jurisdiction over her, are binding and
       cannot be overridden or contradicted by a state court;

       (ii) at the time that Joshua and Stephanie Mast obtained a custody order for her
       from the Juvenile Court, Baby Doe was not “stateless,” but was an Afghan citizen;



                                                7
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 8 of 25 Pageid#: 244




       (iii) at the time that Joshua and Stephanie Mast obtained an adoption order for her
       from the Circuit Court, Baby Doe was not “stateless,” but was an Afghan citizen;

       (iv) the Government of Afghanistan never waived jurisdiction over Baby Doe for
       the purpose of her custody or adoption by Joshua and Stephanie Mast in the United
       States;

       (v) Baby Doe had no connection, let alone a significant connection, to the
       Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained a
       custody order for her from the Juvenile Court;

       (vi) Baby Doe had no connection, let alone a significant connection, to the
       Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained an
       adoption order for her from the Circuit Court;

       (vii) neither Baby Doe’s biological parents, nor Jane and John Doe, had a
       significant connection with the Commonwealth of Virginia at the time that Joshua
       and Stephanie Mast obtained a custody order for her from the Juvenile Court;

       (viii) at the time that Joshua and Stephanie Mast obtained the custody order for
       Baby Doe, she was in the physical custody of the United States military in
       Afghanistan and, therefore, was beyond the jurisdiction of the Juvenile Court or
       any court of this Commonwealth of Virginia;

       (ix) at the time that Joshua and Stephanie Mast obtained an adoption order for her
       from the Circuit Court, Baby Doe was not living in their home but was in
       Afghanistan;

       (x) under the Supremacy Clause of the United States Constitution, the decision of
       the United States to exercise its foreign affairs powers by allowing Baby Doe’s
       transfer to the Government of Afghanistan for family reunification supersedes and
       nullifies any conflicting state court action;

       (xi) under the Supremacy Clause of the United States Constitution, a state court
       lacks authority to override the Executive Branch’s foreign policy decision to allow
       Baby Doe’s transfer to the Government of Afghanistan for family reunification;
       and

       (xii) the decision of the United States to transfer Baby Doe to the Government of
       Afghanistan for family reunification was an exercise of the Executive’s foreign
       affairs power that is binding on state courts.

Compl., Prayer for Relief. After this case was filed, the Does also filed




                                                 8
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 9 of 25 Pageid#: 245




                                    LEGAL STANDARD

        Under Rule 12(b)(1), once a defendant challenges jurisdiction, the plaintiff bears the

burden to establish subject matter jurisdiction, Evans v. B.F. Perkins Co., a Div. of Standex Int’l

Corp., 166 F.3d 642, 647 (4th Cir. 1999), and “must set forth specific facts beyond the pleadings

to show that a genuine issue of material fact exists.” Richmond, Fredericksburg & Potomac R.R.

Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991). The Court should dismiss under Rule

12(b)(1) when “the material jurisdictional facts are not in dispute and the moving party is entitled

to prevail as a matter of law.” Id. The Court may go beyond the allegations of the complaint and

consider additional evidence necessary to determine if there is in fact jurisdiction. Adams v. Bain,

697 F.2d 1213, 1219 (4th Cir. 1982).

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Id. Courts must accept all factual allegations in the complaint as true, but need not

“accept the legal conclusions drawn from the facts” or “accept as true unwarranted inferences,

unreasonable conclusions, or arguments.” E. Shore Markets, Inc. v. J.D. Assocs. Ltd. P’ship, 213

F.3d 175, 180 (4th Cir. 2000).

        When a plaintiff alleges conspiracy, the “need at the pleading stage for allegations

plausibly suggesting (not merely consistent with) agreement reflects the threshold requirement of



                                                    9
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 10 of 25 Pageid#: 246




Rule 8(a)(2) that the ‘plain statement’ possess enough heft ‘to sho[w] that the pleader is entitled

to relief.’” Twombly, 550 U.S. at 557 (alteration in original) (quoting Fed. R. Civ. P. 8). Under

Rule 9(b), allegations of fraud, see, e.g., Compl. ¶ 2, require pleading with particularity “the time,

place, and contents of the false representations, as well as the identity of the person making the

misrepresentation and what he obtained thereby.” Harrison v. Westinghouse Savannah River Co.,

176 F.3d 776, 784 (4th Cir. 1999) (quoting 5 Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure: Civil § 1297, at 590 (2d ed. 1990)); Murray v. Liberty Univ., Inc., No.

6:22-CV-00025, 2022 WL 4082483, at *4 (W.D. Va. Sept. 6, 2022). The Court may also take

judicial notice of matters of public record, such as judicial records, in a Rule 12(b)(6) motion

without converting the motion to one for summary judgment. Sec’y of State for Defense v. Trimble

Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007).

                                           ARGUMENT

I.      This Court Lacks Subject Matter Jurisdiction Over This Case.

        A.     The Does Do Not Have Standing to Assert Claims for Baby Doe.

       The Court should dismiss the claims purportedly brought on behalf of Baby Doe because

John and Jane Doe do not have standing to assert those claims on her behalf. Baby Doe is legally

and physically under the care of the Masts. See Compl. ¶ 11; Adoption Order.

                                                                                    Only Joshua and

Stephanie Mast have standing to bring claims on Baby Doe’s behalf.

       John and Jane Doe, by contrast, have no legal right to represent Baby Doe. In Virginia,

children cannot sue, see Fed. R. Civ. P. 17(c); Va. Code Ann. § 8.01-8, but a child’s “next friend”

or guardian ad litem can sue on her behalf. See Fed. R. Civ. P. 17(c)(2); Elk Grove Unified Sch.

Dist. v. Newdow, 542 U.S. 1, 8 (2004), abrogated in part on other grounds by Lexmark Int’l, Inc.



                                                 10
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 11 of 25 Pageid#: 247




v. Static Control Components, Inc., 572 U.S. 118 (2014). A parent may sue on behalf of a minor

as her next friend under Virginia law, Va. Code Ann. § 8.01-8, but other interested parties may

not.

       The Virginia Adoption Order is entitled to “full faith and credit” in this Court, 28 U.S.C.

§ 1738, and it precludes the Does’ attempt to bring claims on Baby Doe’s behalf even if John

Doe’s allegations of being a biological half cousin or legal guardian under any theory were true.

See Newdow, 542 U.S. at 17. In Newdow, the Supreme Court held that the plaintiff could not bring

claims on behalf of his biological daughter as her “next friend” to enjoin her school from requiring

the pledge of allegiance. See id. at 8, 17. The daughter’s mother intervened, established her

exclusive legal custody based on a state-court order, and asked the Court to dismiss her daughter

because, in her view, the lawsuit did not benefit the child’s interests. Id. at 9–10. The Court found

the mother’s status as sole legal parent determinative and held that, because a state court deprived

the man of his legal status as his daughter’s next friend, he could not sue on her behalf. Id. at 17.

       This Court should likewise dismiss all claims purportedly made on Baby Doe’s behalf.

        B.     The Federal Courts Lack Jurisdiction Over This Child Custody Matter Under
               the “Domestic Relations” Exception.

       The Court should dismiss the Complaint under the domestic-relations exception to

diversity jurisdiction, which prevents this Court from granting what the Does seek: child custody

over Baby Doe. 4 The crux of the Complaint is the Does’ dispute against the Masts over the custody

of Baby Doe—all of their causes of action, and all 12 declarations they seek, are premised on the

theory that the Adoption Order is invalid and that Baby Doe should be in the their custody.


4
 At a minimum, the Court should stay this federal action while the Circuit Court proceedings play
out, which the Court has inherent authority to do. See Landis v. N. Am. Co., 299 U.S. 248, 254
(1936) (“[T]he power to stay proceedings is incidental to the power inherent in every court to
control the disposition of the causes on its docket with economy of time and effort for itself, for
counsel, and for litigants.”).
                                                 11
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 12 of 25 Pageid#: 248




        Generally, “federal courts . . . leave delicate issues of domestic relations to the state

courts.” Newdow, 542 U.S. at 13. The Supreme Court of the United States has held that “‘[t]he

whole subject of the domestic relations of husband and wife, parent and child, belongs to the laws

of the States and not to the laws of the United States.’” Id. at 12 (quoting Ex parte Burrus, 136

U.S. 586, 593-94 (1890)); see also Mansell v. Mansell, 490 U.S. 581, 587 (1989) (“[D]omestic

relations are preeminently matters of state law . . . .”); Moore v. Sims, 442 U.S. 415, 435 (1979)

(“Family relations are a traditional area of state concern.”). “So strong is [the Court’s] deference

to state law in this area that [the Court has] recognized a ‘domestic relations exception’ that ‘divests

the federal courts of power to issue divorce, alimony, and child custody decrees.’” Newdow, 542

U.S. at 12 (quoting Ankenbrandt v. Richards, 504 U.S. 689, 703 (1992)).

        Under the domestic-relations exception, federal courts have no power to exercise

jurisdiction in “purely custodial case[s] between private parties.” Doe v. Doe, 660 F.2d 101, 106

(4th Cir. 1981). The Court “must be alert to keep genuinely domestic matters such as ‘child

custody,’ out of the federal courts.” Id. at 105 (citation omitted). A federal district court cannot

grant custody of a minor child to a party, Ankenbrandt, 504 U.S. at 703; Cole v. Cole, 633 F.2d

1083, 1087 (4th Cir. 1980), and it must be alert to when a party “actually seek[s] a declaration of

present or future rights as to custody” of a child. Wasserman v. Wasserman, 671 F.2d 832, 835

(4th Cir. 1982); see Soulsby v. Soulsby, No. 5:17-CV-0056, 2017 WL 2539806, at *2 (W.D. Va.

June 12, 2017) (“[W]here, as here, a party is ‘seek[ing] a declaration of present or future rights as

to custody or visitation,’ a federal court should decline to exercise jurisdiction.” (alteration in

original) (quoting Wasserman, 671 F.2d at 835)).

        Whether a case is precluded by the domestic-relations exception depends on whether the

duty allegedly violated is independent of family relations law. See Cole, 633 F.2d at 1088–89



                                                  12
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 13 of 25 Pageid#: 249




(District courts “must consider the exact nature of the rights asserted or of the breaches alleged.”).

A duty is independent of family relations law if it does not “arise out of or require . . . a present or

prior family relation,” and examples of independent duties include abstaining from malicious

prosecution, abuse of process, arson, and conversion. Id. In other words, “the claims asserted could

have arisen between strangers.” Id. at 1089.

        In contrast, a duty is intertwined with family relations law when the federal court’s decision

will “adjust[] . . . family status or establish[] familial duties or determin[e] the existence of a breach

of such duties.” See Raftery v. Scott, 756 F.2d 335, 338 (4th Cir. 1985). In other words, “[i]f the

federal court must determine which parent should receive custody, what rights the noncustodial

parent should have, how much child support should be paid and under what conditions, or whether

a previous court’s determination on these matters should be modified, then the court should dismiss

the case.” Rykers v. Alford, 832 F.2d 895, 900 (5th Cir. 1987).

        Federal courts regularly dismiss or stay cases under the domestic-relations exception when

plaintiffs ask them to make a determination about child custody. See, e.g., Stratton by & through

Stratton v. North Carolina, No. 3:20-CV-00455-MR, 2021 WL 328884, at *3 (W.D.N.C. Feb. 1,

2021) (dismissing case where plaintiff requested termination of his legal guardianship), appeal

dismissed, No. 21-6184, 2022 WL 2764420 (4th Cir. July 15, 2022); Griessel v. Mobley, 554 F.

Supp. 2d 597, 603 (M.D.N.C. 2008) (dismissing a case where “there [wa]s an ongoing controversy

relating to child custody and visitation”); Acord v. Parsons, 551 F. Supp. 115, 119 (W.D. Va.

1982) (staying a case until a state court finally adjudicated a child’s custody).

        Here, the Does’ claims relate to issues of child custody and should likewise be dismissed

for lack of subject-matter jurisdiction. The Does ask the Court to grant them custody of Baby Doe

while there is an ongoing controversy in state court and to determine that the Masts obtained



                                                   13
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 14 of 25 Pageid#: 250




“fraudulent” custody and adoption orders. While the Does ostensibly bring tort claims for

damages, each claim is premised on the alleged invalidity of the Virginia Adoption Order. 5 This

Court has no power to change or set aside the Circuit Court’s Adoption Order or to issue a separate

custody order of its own; the Does’ remedy lies in the Circuit Court (if anywhere)—where they

first filed their challenge nearly a year ago.

        The declarations the Does seek make it even clearer they want to circumvent the Circuit

Court proceedings and obtain a de facto custody order. Among other declarations, they seek orders

that the Circuit Court had no jurisdiction, that Baby Doe did not live in Virginia, and that the

United States authoritatively granted delegable custody to the Does’ relative. See Compl. ¶¶ 38–

40. These declarations would have no effect absent the Does’ using them to unwind the adoption. 6

The Does further acknowledged in their brief opposing the Masts’ request for an extension of time

that this federal action is about obtaining custody. They argued against an extension because “Jane

and John Doe have been deprived of access to their daughter for more than a year, and Baby Doe

has been forced to live with strangers. Every day that passes is another day of trauma for all of




5
  See, e.g., Compl. ¶¶ 132, 135 (tortious interference claim alleges the Does have “a fundamental
right” to a parental relationship with Baby Doe and that the Masts used “fraudulent means” to
prevent that relationship); id. ¶¶ 144, 153 (fraud claim that the Masts “fraudulently obtained” the
adoption and custody orders and “unlawfully obtain[ed] physical custody of Baby Doe” through
that adoption); id. ¶ 160 (common law conspiracy claim that the Masts “defraud[ed] John and Jane
Doe” when they “abduct[ed] and unlawfully restrain[ed] Baby Doe”); id. ¶¶ 168, 170 (alleging the
Masts intentionally inflicted emotional distress upon the Does by making misrepresentations to
Virginia state and federal courts and by separating the Does and Baby Doe); id. ¶¶ 175, 177
(alleging false imprisonment because the Masts “physically removed Baby Doe from the custody
of her lawful guardians” and “unlawfully restrain[ed]” Baby Doe by “confining her to the[ir] care
. . . without the permission or consent of her lawful guardians”).
6
  Since these declarations can have no legal effect without further proceedings, this Court should
dismiss them anyway, because they ask for impermissible advisory opinions that the Court lacks
constitutional authority to grant. See Johnson v. Charlotte-Mecklenburg Sch. Bd. of Educ., 20 F.4th
835, 842 (4th Cir. 2021) (“Federal courts are prohibited from issuing advisory opinions and from
deciding issues that will not affect the rights of the parties to the case.”).
                                                 14
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 15 of 25 Pageid#: 251




them.” Opposition to Motion for Extension (Dkt. 32) at 7. That argument makes sense only if this

federal action is designed to unwind Baby Doe’s adoption.

       The Court lacks subject-matter jurisdiction under the domestic-relations exception because

the Does seek what this Court cannot provide: an unwinding of the Adoption Order and a grant of

custody in their favor. This effort to “accelerate the disposition of the custody determination,”

which they may believe is taking too long in state court (and not going their way), “is exactly what

the domestic relations exception to diversity jurisdiction prevents this court from sanctioning.”

Acord, 551 F. Supp. at 119. The Court should therefore dismiss the Complaint outright or, at a

minimum, should stay the case until the Circuit Court proceeding concludes.

        C.     The Court Should Abstain from Hearing This Dispute, Which Properly
               Belongs in State Court.

       The Court should also abstain—at least until the Circuit Court proceedings conclude—

because the state proceedings address the same issues (including

                                                                           ) and because proceeding

in this Court would intrude on Virginia’s comprehensive process for deciding issues of adoption

and child custody. While abstention “is the exception, not the rule, its importance in our system of

dual sovereignty cannot be underestimated.” Johnson v. Collins Ent. Co., 199 F.3d 710, 719 (4th

Cir. 1999) (citation omitted). “Abstention enables the federal courts to respect state wishes to

‘prevent the confusion of multiple review of the same general issues.’” Id. at 725 (quoting Burford,

319 U.S. at 326). It also prevents “federal judicial intrusions into areas of core state prerogative”

and avoids “interferences with a state’s administration of its own affairs.” Id. at 719.

       “Federal courts abstain out of deference to the paramount interests of another sovereign.”

Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 723 (1996). Federal courts should abstain from

deciding cases presenting “difficult questions of state law bearing on policy problems of

                                                 15
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 16 of 25 Pageid#: 252




substantial public import whose importance transcends the result in the case then at bar,” or when

adjudication in a federal forum “would be disruptive of state efforts to establish a coherent policy

with respect to a matter of substantial public concern.” First Penn-Pac. Life Ins. Co. v. Evans, 304

F.3d 345, 348 (4th Cir. 2002) (citation omitted). They should exercise their discretion to abstain

when the federal proceeding would “supplant[] the legislative, administrative, and judicial

processes” of a State or would “arbitrate matters of state law and regulatory policy that are best

left to resolution by state bodies.” Johnson, 199 F.3d at 719–20.

       Even if the domestic-relations exception to federal jurisdiction did not apply, this matter

still presents a textbook case for abstention. Therefore, if the Court does not dismiss for want of

jurisdiction, it should abstain to avoid disrupting the ongoing parallel Circuit Court proceeding.

There, just like here, the Does have asked

                                                                                 This Court should

abstain from hearing the case until that proceeding is completed, based on the principles set out by

the Supreme Court in Burford and Colorado River. See Quackenbush, 517 U.S. at 719, 721.

               i.      Burford Abstention

       The Court should abstain under Burford because adoption is a core state power, and this

proceeding would intrude on the Circuit Court’s proceeding. Federal courts invoke Burford

abstention when “principles of federalism and comity” support exercising their discretion to

abstain. First Penn-Pac., 304 F.3d at 348 (quoting Quackenbush, 517 U.S. at 728). These

principles are “constitutional commitments” that “require federal courts to ‘exercise their

discretionary power with proper regard for the rightful independence of state governments in

carrying out their domestic policy.’” Id. (quoting Burford, 319 U.S. at 318). Though the Does seek

a determination on child custody here, see supra Part I.B, the Supreme Court has recognized that



                                                16
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 17 of 25 Pageid#: 253




Burford’s abstention principles are relevant in some cases “involving elements of the domestic

relationship even when the parties do not seek divorce, alimony, or child custody.” Ankenbrandt,

504 U.S. at 705.

        Burford abstention isn’t a “rigid pigeonhole into which federal courts must try to fit cases.”

Johnson, 199 F.3d at 728 (quoting Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 11 n.9 (1987)). The

Court must carefully balance the federal interests in retaining jurisdiction of a dispute against

competing concerns supporting the “independence of state action,” such as whether “the State’s

interests are paramount” and whether the “dispute would best be adjudicated in a state forum.”

Quackenbush, 517 U.S. at 728 (quoting Burford, 319 U.S. at 334). Among other reasons, this

decision helps ensure that States have local control over “difficult questions of state law bearing

on policy problems of substantial public import,” including the Best Interests of the Child analysis

present in this case. Id. (citation omitted). “The adequacy of state court review diminishes

plaintiffs’ interest in a federal forum.” Johnson, 199 F.3d at 723.

        The Fourth Circuit has endorsed abstaining under Burford in cases where the regulation

“lies at the heart of the state’s police power.” See id. at 720; see also id. (Burford abstention applied

because “[i]ssues of state law and state public policy have dominated this action from day one.”).

Highly regulated state processes are matters of substantial public concern that call for Burford

abstention. See First Penn-Pac., 304 F.3d at 349. The Fourth Circuit has abstained when a federal

court judgment would have interfered with a state receivership proceeding, id., and when a federal

court injunction would have regulated a state’s gambling industry. Johnson, 199 F.3d at 720.

        As discussed supra, domestic-relations law governing parent–child relationships “belongs

to the laws of the States and not to the laws of the United States.” Newdow, 542 U.S. at 12 (citation

omitted). Virginia, like other states, has an intricate system for deciding issues of child custody



                                                   17
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 18 of 25 Pageid#: 254




and adoption. See Va. Code Ann. § 63.2-1200 et seq. Virginia’s adoption laws include provisions

that govern final orders of adoption, id. § 63.2-1213; the legal effects of adoption, id. § 63.2-1215;

when final adoption orders can be collaterally attacked, id. § 63.2-1216; and the consequences of

providing false information in an adoption proceeding, id. § 63.2-1217. This comprehensive

scheme ensures that there is uniform treatment over Virginia’s administration of adoption affairs.

Cf. Johnson, 199 F.3d at 719.

       In a case similar to this one, the Second Circuit abstained under Burford. In Minot v.

Eckardt-Minot, a man alleged that his former wife fraudulently obtained a custody order of their

child and asserted torts of intentional infliction of emotional distress, damage to family

relationship, and other claims. 13 F.3d 590, 592 (2d Cir. 1994). The wife removed the case to

federal court, but the district court remanded the case to state court. Id. It concluded that, although

the domestic-relations exception did not apply, the family law nature of the dispute made Burford

abstention appropriate. Id. The Second Circuit affirmed. In its view, Burford abstention was

appropriate because the man’s theory for relief—akin to a “tort of custodial interference”—was an

important issue of state law and because there were pending issues in state court concerning the

child’s custody status. Id. at 594; see also Begum v. Miner, 213 F.3d 639, at *3 (5th Cir. 2000)

(Table) (applying Burford abstention when plaintiffs would “have to establish that the termination

of their parental rights and the adoption were invalid under state law to obtain the relief they seek”

and when there was an “earlier-filed state family court action”).

       Here, the Does’ lawsuit challenges whether Virginia rightfully allowed the Masts to adopt

Baby Doe. Adoption is a core state power. None of the Does’ claims for relief involve a federal

interest—all are state common law claims. And this parallel proceeding risks upending the

                   proceeding—it appears that the reason for this proceeding is to do just that, as



                                                  18
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 19 of 25 Pageid#: 255




the Does ask this Court to declare Baby Doe’s adoption invalid and to declare that the state court

did not have jurisdiction to enter that order. As such, this Court should abstain to allow the Virginia

proceeding to play out before deciding whether any torts were committed.

               ii.     Colorado River Abstention

       The Court should also abstain on Colorado River grounds because the Circuit Court’s

litigation is “an adequate vehicle for the complete and prompt resolution of the issues between the

parties.” See Chase Brexton Health Servs., Inc. v. Maryland, 411 F.3d 457, 464 (4th Cir. 2005)

(quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 28 (1983)).

       The Court must consider, first, whether there are “parallel proceedings in [state and] federal

court.” See New Beckley Min. Corp. v. Int’l Union, United Mine Workers of Am., 946 F.2d 1072,

1073 (4th Cir. 1991); Sto Corp. v. Lancaster Homes, Inc, 11 F. App’x 182, 186 (4th Cir. 2001).

Here, there is no question the suits are parallel. The claims in the Does’ state-court petition are the

same as this case. Compare, e.g., March 2022 Petition ¶¶ 3, 42, with Compl. ¶ 153. And both cases

relate to the same subject matter—whether the Masts fraudulently obtained the Adoption Order.

So, the first requirement of Colorado River is satisfied.

       When there are parallel proceedings, as here, the Court next considers whether exceptional

circumstances justify abstention. The Fourth Circuit has laid out several non-exclusive factors for

whether exceptional circumstances exist. See Chase Brexton, 411 F.3d at 463–64 (citing Moses H.

Cone, 460 U.S. at 15–16, 19–27; Colorado River, 424 U.S. at 818–19). Though the Court normally

presumes there is jurisdiction, the Court should abstain because all applicable factors weigh in

favor of abstention here:

       (1)     The first factor—“whether the subject matter of the litigation involves
               property where the first court may assume in rem jurisdiction to the
               exclusion of others,” id. at 463—is inapplicable here.



                                                  19
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 20 of 25 Pageid#: 256
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 21 of 25 Pageid#: 257




II.     In Any Event, the Complaint Fails to State a Claim.

        A. The Complaint Fails to State a Claim Under Every Theory Espoused by the Does.

       In addition to dismissing the Complaint due to a lack of subject matter jurisdiction under

Fed. R. Civ. P. 12(b)(1), this Court should also dismiss the Complaint for failure to state a claim

upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

       i.      The Masts are Baby Doe’s lawful parents, so they could not tortiously interfere
               with the Does’ parental rights.

       The Does fail to state a tortious-interference-with-parental-rights claim because the Masts

have exclusive rights to parent Baby Doe and because the Does have other avenues to challenge

the adoption. The Supreme Court of Virginia has held that a claim of tortious interference is

available only when the claim is “the sole recourse” for the harm done to the plaintiff’s parental

rights. Padula-Wilson v. Landry, 298 Va. 565, 576 (2020). When the backdrop of the claim is “a

custody and visitation proceeding” which “afford[s] ample due process,” a claim of tortious

interference with parental rights is unavailable and cannot survive a motion to dismiss. Id.

       Here, there is a parallel proceeding right now in the Circuit Court in which the Does are

afforded ample due process. The Does have had



        . This tort suit is far from the “sole recourse” available to the Does.

       They also fail to state a claim because parents with “equal rights, or substantially equal

rights . . . to establish or maintain a parental or custodial relationship with [their] child” cannot

tortiously interfere. Wyatt v. McDermott, 283 Va. 685, 699 (2012). The Masts have more than

“equal rights” to maintain a relationship with Baby Doe; they have the exclusive right to do so.

The Masts are Baby Doe’s lawful parents according to the adoption and custody orders issued by




                                                 21
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 22 of 25 Pageid#: 258




the Virginia courts. See Adoption Order; Ex. 7 (Custody Order). So, the Masts cannot be sued for

a claim of tortious interference with parental rights. See id.

       Even if a tortious interference claim could otherwise survive, the Does have not overcome

the reasonable inference that Major Mast had a good faith basis for his actions. A tortious-

interference claim cannot survive if the defendant believes that the plaintiff did not have a right to

maintain a parental relationship or if he possessed a reasonable, good faith belief that interference

was necessary to protect the child from physical, mental or emotional harm. See Wyatt, 283 Va. at

702. The Masts had facially valid custody and adoption orders from state courts. These orders gave

reasonable and good faith reasons to believe that the Does lacked the right to establish a parental

relationship with Baby Doe. Major Mast also reasonably and justifiably believed that the Does

were not related to Baby Doe. The Masts were further justified in believing that having Baby Doe

in their custody would protect her from ongoing physical harm. See Compl. ¶ 83 (“[Major] Mast

told [the Does] . . . that, if Baby Doe did not receive medical care in the United States, she could

be blind, brain damaged, and/or permanently physically disabled.”). For these reasons, the Does

cannot assert a successful claim of tortious interference with parental rights against the Masts.

       ii.     The Does fail to state a claim for fraud.

       The Does fail to state a fraud claim because they fail to allege with particularity, as required

under Rule 9(b), not only the “‘the time, place, and contents of the false representations,’” but also

“the identity of the person making the misrepresentation and what he obtained thereby,’” Harrison

v. Westinghouse Savannah River Co., 176 F.3d at 784 (emphasis added) (quoting 5 Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure: Civil § 1297, at 590 (2d ed. 1990)).

In Virginia, fraud usually involves some loss of finances or property, so “[t]he usual remedy in an

action for fraud is to restore the defrauded party to the position they held prior to the fraud.”

Murray v. Hadid, 238 Va. 722, 731 (1989). The Does have not explained what property they lost
                                                  22
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 23 of 25 Pageid#: 259




or what damages were proximately caused by the Masts’ actions, so they have failed to plead a

claim for fraud. See id. And to the extent their fraud claim turns on the adoption and custody orders,

see Compl. ¶ 146 (alleging the Masts sought “to take Baby Doe”), it plainly lies outside this Court’s

jurisdiction. See supra Part I. This Court has no ability to grant custody of Baby Doe to the Does.

       iii.    There are no facts to support the Does’ intentional infliction of emotional distress
               claim.

       The Masts have acted admirably—not “outrageously”—so there is no basis for the Does’

intentional infliction of emotional distress (IIED) claim. And while the Does’ well-pleaded

allegations should be taken as true at this stage, the Complaint still does not state a claim for IIED.

In Virginia, IIED is “not favored” because its “outrageous and intolerable” element is not

objective. Russo v. White, 241 Va. 23, 26 (1991). The Virginia Supreme Court has nevertheless

clarified that this element is “aimed at limiting frivolous suits and avoiding litigation in situations

where only bad manners and mere hurt feelings are involved.” Harris v. Kruetzer, 271 Va. 188,

204 (2006) (citation omitted). It is satisfied only when the conduct is “so outrageous in character,

and so extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.” Id. (citation omitted). Examples of

outrageous conduct include when a hospital failed to inform a patient that she may have been

exposed to HIV after a psychiatric patient sexually assaulted her, Delk v. Columbia/HCA

Healthcare Corp., 259 Va. 125, 137 (2000), and when a defendant broke into a person’s home and

took a picture of the plaintiff for use in a child molestation case that was completely unconnected

to the plaintiff, see Womack v. Eldridge, 215 Va. 338, 342 (1974). Examples of conduct that

Virginia courts said was not outrageous include when a clinical psychologist demeaned a brain-

injury patient, called her a “faker” and a “malingerer,” and accused her of “putting on a show,”

Harris, 271 Va. at 204, and when a mother cut off visitation rights to a man who had wrongly

                                                  23
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 24 of 25 Pageid#: 260




believed he was the father of her child, see Ruth v. Fletcher, 237 Va. 366, 373 (1989). The

Complaint fails to clear this exceedingly high bar, so the Court should dismiss the IIED claim.

       iv.     Baby Doe is legally within the Masts’ custody, not “falsely imprisoned.”

       The Does’ false-imprisonment claim fails because the Masts are Baby Doe’s adoptive

parents. False imprisonment requires intentional restriction of a person’s freedom of movement

without legal right. See, e.g., Zayre of Va., Inc. v. Gowdy, 207 Va. 47 (1966). As Baby Doe’s

adoptive parents, the Masts have the legal right to her physical custody. There is also generally no

liability for false imprisonment unless the plaintiff knows of or is harmed by the confinement. See

Dill v. Kroger Ltd. P’ship I, 300 Va. 99, 114 (2021) (plaintiff must “fear to disregard” the person’s

actions and be “under a reasonable apprehension” of use of force); Restatement (Third) of Torts:

Phys. & Emot. Harm, § 42 (2012). The Does’ cursory allegation that Baby Doe cried—which

plausibly could have happened for any number of reasons—does not satisfy this requirement.

       v.      There is no claim for conspiracy because there is no underlying tort.

       The Court should dismiss the Does’ claim for common law conspiracy because the Does

fail to allege an underlying tort. Almy v. Grisham, 273 Va. 68, 81 (2007). Further, because the

Does allege a fraudulent conspiracy, they must allege it with particularity. Terry v. SunTrust

Banks, Inc., 493 F. App’x 345, 358 (4th Cir. 2012); see also Harrison, 176 F.3d at 784. The Does

fail to plead the particulars of the alleged conspiracy. They do not recount any particular meetings

or communications between the Defendants, nor do they recount what in particular was allegedly

said during these communications. Their claim of fraudulent conspiracy thus fails.

        B. Plaintiffs Fail to Allege Specific Facts Against Stephanie.

       At a minimum, the Court should dismiss Stephanie Mast from this case because the

Complaint fails to allege facts supporting that she committed any tort. Most allegations against her



                                                 24
Case 3:22-cv-00049-NKM Document 51 Filed 10/14/22 Page 25 of 25 Pageid#: 261




are conclusory legal allegations (see, e.g., ¶¶ 4, 163, 167) that this Court must ignore. See Iqbal,

556 U.S. at 678. And though the Does allege a few specific facts about Stephanie, none relates to

their claims for relief. For example, they allege that Stephanie and Major Mast hired Kimberley

Motley to locate Baby Doe and communicate with the Does. See, e.g., Compl. ¶¶ 6, 74–78. But

seeking information about Baby Doe is not tortious, nor do the Does allege that Stephanie ever

contacted them while they were in Afghanistan. The only specific contact alleged is that Stephanie

spoke with the Does during their brief stop in Germany after the Does fled Afghanistan with Major

Mast’s help. See id. ¶ 106. All other communications were made by Major Mast or others. See id.

¶¶ 91, 93, 104–05. Other alleged facts—such as Stephanie being with her husband when he took

custody of Baby Doe (see ¶ 121) and her supposedly directing someone to alter a photograph of

her own daughter (see ¶ 112)—are unconnected to the Does’ substantive claims. Because the

Complaint fails to state a claim against Stephanie, the Court should dismiss her from this case. 7


       Dated: October 14, 2022                       Respectfully submitted,

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7
  Defendants would also urge the Court, pursuant to Rule 54(b), to enter a separate final judgment
in favor of Stephanie Mast if it does not dismiss the remaining claims (or simply stay the case).
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